Case 8:07-cv-01476-SCB-MAP Document 8 Filed 10/23/07 Page 1 of 2 PagelD 29

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

Bagnall, et al.
Plaintiff,
v.
Academy Collection Service, Inc.

Defendant.

 

TAMPA DIVISION

CASE NO.: 8:07-cv-01467
JUDGE: Bucklew

MAGISTRATE JUDGE: Pizzo

NOTICE OF DISMISSAL
WITH PREJUDICE

Now comes the Plaintiff, by and through counsel, and hereby dismisses the present action

pursuant to Fed. R. 41(a), with prejudice. A Notice of Dismissal is proper due to the fact that the

Defendant has not filed an Answer.

RESPECTFULLY SUBMITTED,

Legal Helpers, P.C.

By: mee yy S hu, (M_

Jan McLaughlin —

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Attorney for Plaintiff
Case 8:07-cv-01476-SCB-MAP Document 8 Filed 10/23/07 Page 2 of 2 PagelD 30

CERTIFICATE OF SERVICE

[hereby certify that on October FB, 2007, a copy of the foregoing was filed
with the clerk. Notice of this filing will be sent by operation of the Court’s electronic

filing system to all parties indicated on the electronic filing receipt.

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Attorney for Plaintiff
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